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                  COMPOSITE EXHIBIT A
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   Because WHC demanded nobody could leak the information and defined a new way of
   reporting, no case was entered into the SRS, leaving the system useless.
   Thus, these two notices by WHC brought China back to the dark time of pre-SARS.


   V. The Trip of the Expert Team from Beijing
